Case 2:02-Cr-20448-BBD Document 380 Filed 05/02/05 Page 1 of 6 Page|D 273

man ar lL”j D.c.
IN THE UNITED STATES DISTRICT COURT (]5 my _2 pH I: 1 j
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION R?§;n.r 313 dig;_@§§
uNITED srATEs oF AMERICA, * vci' ¢` "z-‘ i‘a_l iii§wfr>m'é
Plaintiff, * Crim. No. 02-2()448-D/P
v. *
JOHN E. MADISON, SR., and *

WlLLIEANN D. MADISON,

Defendants.

 

ORDER DIRECTING DEFENDANTS AND MEMPHIS FIRST COMMUNITY BANK
TO APPEAR AND SHOW CAUSE

 

Upon motion of the United States, the defendants and an authorized representative of
Memphis First Community Bank shall appear before this Court
on " ,,` , ,,.... and show cause as to Why they should not be
held in co tempt of court for violating the restraining order entered in the above-styled case on

September 27, 2004.
l'r ls so oRl)ERED, rhisgday of`/??a,?/ , 2005.

E ICE B. D NALD
Unlted States District Judge

APPROVED'.

TERRELL L. HARRIS
United States Attorney

By:

 

C STOPHER E'.”COTTEN
ssistant United States Attorney

Case 2:02-Cr-20448-BBD Document 380 Filed 05/02/05 Page 2 of 6 Page|D 274

 

Case/z:oz-cr-zo¢t¢ts-BBD DOQQM@@REQQQEO,§EWQS Pao€ 301‘6 PaQ€lD 275

WHEREAS, on August4,1999, th_LlEANN D_ MAD|SON and JOHN MADISON,
executed a certain Deed of Trust to LARRY WElSSMAN, as same appears ot record in
the Regisler's Oftice of the Shelby County, Tennessee under |nstrurnent No. JP-6929 in
the Register's Oftice of Shelby County. Tennessee, and the undersigned ROSAL|ND
COSTON having been properly appointed as Substitute Trustee to act in the place and
stead of LARRY WElSSMAN, in the said De ‘d of Trust, said appointment of Substitute
Trustee being recorded as lnstrument Number05031856 in the Register's Office of Shelby
County, Tennessee, with the undersigned-now acting as Substitute Trustee, for the
purpose ot securing the debt and obligations therein described; and

WHEREAS, default was made in the payment of the debt and obligations secured
by said Deed of Trusl and the undersigned as Substitute Trustee, was requested to
advertise and self the property conveyed by said Deed of Trust in compliance with the
provisions thereof; and

WHEREAS, the undersigned, as Substitute Trustee, did, in compliance with the
provisions of said Deed of Trustl advertise for sale the property conveyed by same, the
advertisement of sale having been published in THE DAlLY NEWS PUBLlSH|NG
COMPANY, a newspaper published in Memphis, Shelby County, Tennessee, in the issue
ot March 4th, 11th & tBth, 2005, of said newspaper. said sale having been advertised for
Tuesday, March 29, 2005 commencing at twelve o'clock noon, at the southeast corner of
the Courthouse, Memphis, Shelby Counly. Tennessee. and at the Adams Avenue entrance
thereol, at which time and place same was offered for sale and sold; and

WHEREAS, the highest and best bid of said property was then and there made by
MEMPH|SFFRST COMMUN|TY BANK, a bidl TWO HUNDRED FtFTY ONE
THOUSAND ElGHT HUNDRED TWENTY TWO AND 971'100 ($251,822.97) DOLLARS
for said property, which bid was then and there accepted by the undersigned as Substitute
Trustee_

NOW THEREFORE, in consideration of the premises and of the payment by the
said MEMPH|SF|RST COMMUN!TY BANK , so bid, receipt of which payment is hereby
acknowledged the undersigned , ROSALIND B. COSTON, Substitute Trustee does hereby
grant, bargainl sell and convey unto the said MEMPH|SF}RST COMMUNl`lNr BANK the
said property above mentioned and now further described as situated in the C'rty of
Memphis, County of Shelby, and Slate of Tennessee, more particutarly described as
follows, to-wit;

Lot 28, American Place, as shown on Final P|an, Phase 1, Area A, Sections
‘l and 2, of record in Plat Booli 121, Page 31, in the Register's Otfrce ot
Shelby County, Tennessee and more particularly described as tollows:

Beginning at a point on the south line of Colony Park Drive (forrnerly
Amen'can Way Drive} (4500 feet wide) said point being located westwardly
as measured along said south iine a distance of 146.33 feet from the tangent
intersection of a curve having a radius of 39.50 feel being located at the
southwest corner of Cherry Center Drive {45.00 feet wide) and said Colony
Park Drive; runs thence South32 degrees 14 minutes 25 seconds East along
the west line of Lot 1 a distance of 125.13 feet to an iron pin, the southwest
corner of Lot 1; thence South 89 degrees 44 minutes 45 seconds West a
distance of 186.09 feet to an iron pin, the southeast corner of t.ot 27, thence
North 00 degrees 15 minutes 15 seconds West along the east line ot Lot 27
a distance ot 150.63 feet to a point in the south margin ot Colony Park Drive;
thence in an easterly direction around a curve to the left having a radius of
172.50 feel a distance of 83.81 feet to the point of beginning

TO HAVE AND TO HOLD the property described, together with the privileges
appurtenances and heredilaments thereunto belonging or in any wise appertaining unto
the said MEMPHtSFtRST COMMUN|TY BANI<. its successors and assigns forever, to
whom the said ROSAL|ND B. COSTON, Substitute Trustee, warrants the title to the
aforesaid property against the lawful claims and demands of all persons claiming by,
throughl or under him, but not further or otherwise

 

Case 2:02-0r-gQ448-B|§d[g 0lj)'g.cu enttn380 Filed 05/02/05 Pa(ge 4 of 6 PagelD 276

f e proce is sae, e receipt of which undersigne Trustee hereby
acknowledges have been applied as foltows;

 

Princ`ipal 8. interest
Publication Costs
Attorney Fees
Recording Fee
Foreclosure Reference
Transfer Tax

TOTAL BID

$ 249,112.23

405,00

1,200_00

24.00
150.00
931,74

$251,822.97

WITNESS the signature of the undersigned Rosa|ind B. Costonl Substitute Trusteel

ihisc’>’/s* day or March_ 2005

STATE OF TENNESSEE}
COUNTY OF SHELBY}

award a diana

'Rosalind B. Coslon

Before me, the undersigned a Notary Pub|ic ot the State ot and County atoresaid,
personally appeared Rosalind B. Coston with whom lam personally acquainted, and who,
upon oath_ acknowledged himself to be the within named bargainor and that he as such
executed the foregoing instrument for the purposes therein contained

WlTNESS my hand and official Seal at office this<JL/"day of March, 2905_.

iviv COMMiSSioN ExPiRt-:S; f»s?$~d 7

it `." ' `

f - `, C -r
/;?ca¢:f@".§;ti¢;l;ii-,..n
NoTARY PuaLic §§ 3 “'_"'

 

.'\ 9
f\. _‘
\_\ ~~ ‘ i~ -

1111\wrot-aitaiii\\\'¢¢¢a¢tlllll¢¢oi¢¢o¢¢ll1sisnnoncons-cre¢¢¢noceaciao111l¢n¢¢\¢¢i¢a¢o»¢¢ii¢¢a¢o

Property Address:

2771 Colony Part< Drive

Memphis, Tennessee 38118

il€¢d OLJr\Q_¢’A-ui

Mail Tax Bills to:

MEMPH|SF|RST CON|MUNITY BANK
4230 Elvis Presley Blvd.

Memphis, Tennessee 38116

This lnstrurnerit Preparecl by:

KE|TH C. KYLES

KYLES 8. ASSOC!ATES, P.C.
212 ADAMS AVENUE
MEMPHIS. TENNESSEE 38103
{901) 522-1200

|l or we, hereby swear or
affirm that to the best of
aft'iant's knowledge,
information and beiief, the
actual consideration for
this transfer or value of
the property transferred,
whichever is greater is
5251,822.97, which amount
is equal to or greater than
the amount which the
property transferred would
command at a fair and

v§luntag sal: ,2, 9 5

AFF|ANT

taint ';cr.) Nz). 0730,22 porto/acs

Subscribed and sworn to 4
before me this thei§/csf
day of March, 2005_

é'(es-_ @§;‘__' _
OTARY PUBL|C

iMY COMM|SS|ON EXPlRES: f-‘A'Z_§_”D"?

Case 2:02-cr-20448-BBD Document 380 Filed 05/02/05 Page 5 of 6 PagelD 277

 

Tom Leatfier'wooi{
Shelby County Register

As evidenced by the instrument number shown below, this document

n recorded as a permanent record in the archives of the
Office of the Shelby County Register.

has bee

 

 

 

 

o¢/o¢/zoos - 01=33 pa
2 m = a - an nunn ona
_m`n aunt-sunn

 

 

 

itiiiiitiil

 

 

 

 

 

 

 

'l-'l zsrnx.sr
m u.l l.a¢
nunn nm ,,,_,,
malone rca ,¢,,,
or nn ,_"
cronin-a r:¢ i.oii
un.r. nn rca 5,°°
wm m n!.?s

 

 

TOH LEATHERHOOD

I“IS‘III m Nm IIII.I! mill !¢Ilf$$fl

 

 

160 N. Matn Sl., Suite 519 - Memphis, Tennessee 38103 - (901) 54|5-4366

http:llregisler.shelby,tn.us

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 380 in
case 2:02-CR-20448 Was distributed by faX, mail, or direct printing on

May 2, 2005 to the parties listed.

 

Tony L. AXam

LAW OFFICE OF TONY L. AXAM

1280 W. Peachtree St.
Ste. 3 10
Atlanta, GA 30309

Vivian R. Donelson

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Mitzi H. Spell
BETSERAI & SPELL
100 N. Main St.

Ste. 901

1\/1emphis7 TN 38103

Michelle L. Betserai
BETSERAI & SPELL
100 N. Main St.

Ste. 901

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

